Case 4:20-cv-00283-O Document 98 Filed 10/24/22   Page 1 of 24 PageID 1917


             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                 FORT WORTH DIVISION


  Braidwood Management Inc., et al.

                       Plaintiffs,
                                        Case No. 4:20-cv-00283-O
  v.

  Xavier Becerra, et al.,

                       Defendants.


        SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFFS’
              MOTION FOR SUMMARY JUDGMENT
Case 4:20-cv-00283-O Document 98 Filed 10/24/22                                   Page 2 of 24 PageID 1918


                                       TABLE OF CONTENTS
 Table of contents .................................................................................................... i
 Table of authorities ................................................................................................ ii
      I. The Court should enter judgment for the defendants on the plaintiffs’
         claims related to the contraceptive mandate ................................................. 1
      II. Braidwood is entitled to a universal remedy ................................................. 2
           A. The Declaratory Judgment Act .............................................................. 4
           B. The Administrative Procedure Act ......................................................... 7
           C. Injunctive relief ..................................................................................... 9
      III. The standing of the remaining plaintiffs .................................................... 11
 Conclusion .......................................................................................................... 17
 Certificate of service ............................................................................................ 19




 plaintiffs’ supplemental brief in support of summ ary judgment                                            Page i of iv
Case 4:20-cv-00283-O Document 98 Filed 10/24/22                              Page 3 of 24 PageID 1919


                                  TABLE OF AUTHORITIES
 Cases
 ACLU v. Reno, 31 F. Supp. 2d 473 (E.D. Pa. 1999) .............................................. 3
 Center for Auto Safety v. National Highway Traffic Safety
   Administration, 793 F.2d 1322 (D.C. Cir. 1986) ............................................ 11
 Citizens United v. Federal Election Comm’n, 558 U.S. 310 (2010).......................... 9
 Community Nutrition Institute v. Block,
   698 F.2d 1239 (D.C. Cir. 1983) ...................................................................... 11
 Competitive Enterprise Institute v. National Highway Traffic Safety
   Administration, 901 F.2d 107 (D.C. Cir. 1990) .............................................. 11
 Consumer Federation of America v. FCC,
   348 F.3d 1009 (D.C. Cir. 2003) ...................................................................... 11
 Data Marketing Partnership, LP v. United States Dep’t of Labor,
   45 F.4th 846 (5th Cir. 2022)................................................................... 7, 8, 10
 DeOtte v. Nevada, 20 F.4th 1055 (5th Cir. 2021) .................................................. 1
 Department of Commerce v. New York, 139 S. Ct. 2551 (2019) ............................ 13
 Dobbs v. Jackson Women’s Health Organization,
   142 S. Ct. 2228 (2022) ..................................................................................... 9
 Doran v. Salem Inn, Inc., 422 U.S. 922 (1975) .................................................... 10
 Driggers v. Business Men’s Assurance Co. of America,
   219 F.2d 292 (5th Cir. 1955) ............................................................................ 9
 Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368 (5th Cir. 2022)................ 7, 8, 10
 Franciscan Alliance, Inc. v. Burwell,
   227 F. Supp. 3d 660 (N.D. Tex. 2016) ............................................................ 10
 Hansberry v. Lee, 311 U.S. 32 (1940) .................................................................... 9
 In re Abbott, 954 F.3d 772 (5th Cir. 2020) ............................................................ 3
 Inclusive Communities Project, Inc. v. Dep’t of Treasury,
   946 F.3d 649 (5th Cir. 2019) .................................................................... 14, 17
 Lexmark Int’l, Inc. v. Static Control Components, Inc.,
   572 U.S. 118 (2014) ....................................................................................... 13
 Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,
    140 S. Ct. 2367 (2020) ..................................................................... 3, 6, 11, 12
 Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)............................................. 14
 March for Life v. Burwell, 128 F. Supp. 3d 116 (D.D.C. 2015) ............................ 12




 plaintiffs’ supplemental brief in support of summ ary judgment                                     Page ii of iv
Case 4:20-cv-00283-O Document 98 Filed 10/24/22                                    Page 4 of 24 PageID 1920


 National Ass’n of Radiation Survivors v. Walters,
   589 F. Supp. 1302 (N.D. Cal. 1984) ................................................................. 3
 NetChoice, L.L.C. v. Paxton, 49 F.4th 439 (5th Cir. 2022) ..................................... 4
 Okpalobi v. Foster, 244 F.3d 405 (5th Cir. 2001) (en banc) .................................... 7
 Orangeburg, South Carolina v. FERC,
   862 F.3d 1071 (D.C. Cir. 2017) ...................................................................... 11
 Pool v. City of Houston, 978 F.3d 307 (5th Cir. 2020) ............................................ 4
 Sapp v. Renfroe, 511 F.2d 172 (5th Cir. 1975) ....................................................... 9
 Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645 (2017) .......................... 6, 11
 Trump v. Hawaii, 138 S. Ct. 2392 (2018)............................................................. 3
 Weissman v. Nat’l R.R. Passenger Corp.,
   21 F.4th 854 (D.C. Cir. 2021) ........................................................................ 11
 Whole Woman’s Health v. Hellerstedt, 579 U.S. 582 (2016)..................................... 9
 Wieland v. United States Dep’t of Health & Human Services,
   196 F. Supp. 3d 1010 (E.D. Mo. 2016) .......................................................... 12
 Statutes
 5 U.S.C. § 551(1) .................................................................................................. 8
 5 U.S.C. § 706(2) ...................................................................................... 4, 7, 8, 9
 28 U.S.C. § 2201 .................................................................................... 4, 5, 6, 11
 28 U.S.C. § 2201(a) ...................................................................................... 4, 6, 7
 42 U.S.C. § 300gg-13(g)(1) .................................................................................. 8
 42 U.S.C. § 300gg-13(g)(4) .................................................................................. 1
 Rules
 Fed. R. Civ. P. 54(c) .............................................................................................. 9
 Interim Final Rules for Group Health Plans and Health Insurance
   Issuers Relating to Coverage of Preventive Services Under the Patient
   Protection and Affordable Care Act, 75 Fed. Reg. 41726 (July 19,
   2010) .............................................................................................................. 16
 Other Authorities
 Nicholas Bagley, Remedial Restraint in Administrative Law,
   117 Colum. L. Rev. 253 (2017) ........................................................................ 7
 David P. Currie, Misunderstanding Standing, 1981 Sup. Ct. Rev. 41 ..................... 5




 plaintiffs’ supplemental brief in support of summ ary judgment                                            Page iii of iv
Case 4:20-cv-00283-O Document 98 Filed 10/24/22                         Page 5 of 24 PageID 1921


 John Harrison, Section 706 of the Administrative Procedure Act Does
   Not Call for Universal Injunctions or Other Universal Remedies,
   37 Yale J. On Reg. Bull. 37 (2020) .................................................................. 10
 Thomas W. Merrill, Article III, Agency Adjudication, and the Origins
   of the Appellate Review Model of Administrative Law,
   111 Colum. L. Rev. 939 (2011) ........................................................................ 8
  Mila Sohoni, The Power to Vacate a Rule,
   88 Geo. Wash. L. Rev. 1121 (2020) ............................................................ 8, 10




 plaintiffs’ supplemental brief in support of summ ary judgment                               Page iv of iv
Case 4:20-cv-00283-O Document 98 Filed 10/24/22               Page 6 of 24 PageID 1922


      The Court’s order of September 28, 2022, requests supplemental briefing on
 each of the following three issues: (1) The standing of the non-Braidwood plaintiffs;

 (2) The proper disposition of the plaintiffs’ claims regarding the Contraceptive Man-
 date; and (3) The scope of the remedy. See Order, ECF No. 97.
      The plaintiffs will address these issues in a different order. We will begin with the
 claims surrounding the Contraceptive Mandate, as the resolution of those claims is
 simple and straightforward: The Court should enter judgment for the defendants
 based on its ruling of September 7, 2022. See Memorandum Opinion and Order, ECF
 No. 92, at 14–18; id. at 31–36. We will then discuss the scope-of-remedy issue before
 addressing the standing of the remaining plaintiffs, as their standing is affected by
 whether Braidwood can seek or obtain a universal remedy with respect to the chal-
 lenged agency actions.

 I.     The Court Should Enter Judgment For The Defendants
        On The Plaintiffs’ Claims Related To The Contraceptive
        Mandate
      Although the plaintiffs’ challenge to the Contraceptive Mandate is no longer
 barred by res judicata,1 it is foreclosed by this Court’s ruling of September 7, 2022.
 See Memorandum Opinion and Order, ECF No. 92. The Court has already rejected
 the plaintiffs’ claim that 42 U.S.C. § 300gg-13(g)(4) violates the Appointments

 Clause by empowering HRSA to determine the scope of compulsory preventive-care
 coverage for women. See id. at 14–18. The Court has also rejected the plaintiffs’ non-
 delegation challenge to the HRSA regime. See id. at 14–18; id. at 31–36. The Court’s
 rulings on these matters leave no room for the plaintiffs to continue pursuing their




 1.    See DeOtte v. Nevada, 20 F.4th 1055 (5th Cir. 2021); see also Notice of Supple-
       mental Authority, ECF No. 91.


 plaintiffs’ supplemental brief in support of summ ary judgment                Page 1 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22              Page 7 of 24 PageID 1923


 attack on the Contraceptive Mandate in this Court, although they do wish to preserve
 their Appointments Clause and non-delegation arguments for appeal.2

       The Court should enter judgment for the defendants and against each of the
 plaintiffs on the contraception-related claims, rather than dismissing the plaintiffs’
 claims for lack of Article III standing, for the reasons provided in Sections II and III,
 infra.

 II.      Braidwood Is Entitled To A Universal Remedy
       The Court has already determined that Braidwood has Article III standing to
 challenge the legality of the defendants’ preventive-care mandates. See Memorandum
 Opinion and Order, ECF No. 92, at 9–13. The Court has also held that the preven-
 tive-care mandates imposed by the U.S. Preventive Services Task Force are incompat-
 ible with the Appointments Clause, and that the PrEP mandate violates the Religious
 Freedom Restoration Act. See id. at 18–28 (Appointments Clause); id. at 36–41. But
 Braidwood has not sued as a class representative, so the Court must decide whether
 Braidwood can obtain a “universal” remedy that prevents the defendants from enforc-
 ing the disputed coverage mandates against anyone — or whether the Court must limit
 its relief to Braidwood and the other plaintiffs that can independently establish Article
 III standing.
       The issue of universal remedies is one of the most contentious and unresolved
 issues in modern litigation. It is also an issue that is under-theorized, even though it
 often arises in litigation, because scope-of-remedy issues typically become moot after
 an appellate court resolves the legality or constitutionality of a disputed statute or




 2.    The plaintiffs did not preserve a RFRA challenge to the Contraceptive Mandate,
       as their first amended complaint and subsequent representations to this Court
       clarified that the RFRA claims extend only to the PrEP coverage mandate. See
       First Amended Complaint, ECF No. 14, at ¶¶ 108–111; Memorandum Opin-
       ion and Order, ECF No. 92, at 36 n.10.


 plaintiffs’ supplemental brief in support of summ ary judgment               Page 2 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22              Page 8 of 24 PageID 1924


 agency rule. See, e.g., Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylva-
 nia, 140 S. Ct. 2367 (2020) (declining to rule on the propriety of a “nationwide

 injunction” after upholding the challenged agency rule); id. at 2412 n.28 (2020)
 (Ginsburg, J., dissenting); Trump v. Hawaii, 138 S. Ct. 2392, 2423 (2018) (“Our
 disposition of the case makes it unnecessary to consider the propriety of the nation-
 wide scope of the injunction issued by the District Court.”).
     The problem is aggravated by the behavior of many district-court judges, who
 simply assume or act as though a judicial pronouncement of unconstitutionality or
 illegality formally revokes the underlying statute or agency rule in an act akin to an
 executive veto — and who issue “universal” remedies consistent with the idea that the
 judicially disapproved statute or regulation ceases to exist and can no longer be en-
 forced against anyone. See, e.g., National Ass’n of Radiation Survivors v. Walters, 589
 F. Supp. 1302, 1329 (N.D. Cal. 1984) (issuing a preliminary injunction that prohib-
 ited the government from “enforcing or attempting to enforce in any way the provi-
 sions of 38 U.S.C. §§ 3404–3405,” without limiting its relief to the named plaintiffs)
 (emphasis added), rev’d by Walters v. National Ass’n of Radiation Survivors, 473 U.S.
 305 (1985); ACLU v. Reno, 31 F. Supp. 2d 473, 499 n.8 (E.D. Pa. 1999) (issuing
 preliminary injunction barring enforcement of a federal statute against anyone, rather
 than limiting relief to the named plaintiffs); In re Abbott, 954 F.3d 772, 786 n.19
 (5th Cir. 2020) (rebuking a district court for “purport[ing] to enjoin GA-09 as to all
 abortion providers in Texas,” when the plaintiffs in that case were “only a subset of

 Texas abortion providers and did not sue as class representatives.”), vacated on other
 grounds by Planned Parenthood Center for Choice v. Abbott, 141 S. Ct. 1261 (2021).
 This is a manifestation of what some have called the “writ-of-erasure” mindset — the
 idea that judges wield the power to formally suspend a statute, a way of thinking has
 been reinforced by the sloppy and inaccurate nomenclature that is all too often used
 to describe the power of judicial review. See, e.g., Pool v. City of Houston, 978 F.3d


 plaintiffs’ supplemental brief in support of summ ary judgment               Page 3 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22                Page 9 of 24 PageID 1925


 307, 309 (5th Cir. 2020) (“It is often said that courts ‘strike down’ laws when ruling
 them unconstitutional. That’s not quite right.”); NetChoice, L.L.C. v. Paxton, 49 F.4th

 439 (5th Cir. 2022) (“‘[C]ourts have no authority to strike down statutory text’”
 (quoting Borden v. United States, 141 S. Ct. 1817, 1835–36 (2021) (Thomas, J.,
 concurring in the judgment)).
     In determining whether Braidwood can pursue a universal remedy, a court should
 carefully distinguish the three types of remedies available to Braidwood and other
 prevailing plaintiffs in this litigation: (1) Declaratory relief under 28 U.S.C. § 2201(a);
 (2) A remedy that “holds unlawful and sets aside” agency action under 5 U.S.C.
 § 706(2); and (3) Injunctive relief. Each of these remedies is governed by different
 sources of law that define the permissible scope of these remedies.

          A.     The Declaratory Judgment Act
     A declaratory judgment is a creature of statute, and the permissible scope of a
 declaratory remedy is set forth in the statute that authorizes declaratory relief:

          In a case of actual controversy within its jurisdiction, . . . any court of
          the United States, upon the filing of an appropriate pleading, may de-
          clare the rights and other legal relations of any interested party seeking
          such declaration, whether or not further relief is or could be sought.
          Any such declaration shall have the force and effect of a final judgment
          or decree and shall be reviewable as such.
 28 U.S.C. § 2201(a) (emphasis added). Courts rarely quote or analyze the language
 of the Declaratory Judgment Act, but the statute makes clear that a court may declare
 only: (1) the “rights and other legal relations”; (2) of an “interested party” seeking
 this declaration. The statute does not authorize courts to make declarations of law in
 the abstract, and any declaration must comport with each of these statutory require-
 ments.
     Several implications follow. The first is that the Court’s declaratory relief should
 be phrased in terms of the “rights and other legal relations” belonging to Braidwood




 plaintiffs’ supplemental brief in support of summ ary judgment                  Page 4 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22            Page 10 of 24 PageID 1926


 Management Inc., rather than an abstract pronouncement on the constitutionality of
 a statute or the legality of a defendant’s conduct. A declaratory judgment announcing

 that “42 U.S.C. § 300gg-13(a)(1) violates the Appointments Clause” is too abstract
 to qualify as a statement of the “rights or “legal relations” of Braidwood, even though
 it could be read to imply that Braidwood has a “right” not to obey the preventive-
 care coverage recommendations of the U.S. Preventive Services Task Force. Better
 instead to phrase the declaratory judgment in terms of a litigant’s “rights” and “legal
 relations,” such as the following:

        Braidwood Management Inc. need not comply with the preventive-care
        coverage recommendations of the U.S. Preventive Services Task Force
        issued after March 23, 2010, because the members of the Task Force
        have not been appointed in a manner consistent with the Appointments
        Clause.
 Other phrasings can be used, but the courts should always bear in mind that 28 U.S.C.
 § 2201 authorizes declarations only of a litigant’s “rights and other legal relations,”
 and declaratory judgments should describe those “rights” and “legal relations” rather
 than offer abstract pronouncements on the constitutionality of a statute or the legality
 of an agency rule.
     The second implication is that courts may declare only the rights and legal rela-
 tions of a “party” to the lawsuit. They cannot declare the rights of a non-party or a
 non-litigant under 28 U.S.C. § 2201. See David P. Currie, Misunderstanding Stand-
 ing, 1981 Sup. Ct. Rev. 41, 45 (“[The court is empowered to declare only the ‘rights’

 of the ‘party seeking such declaration,’ and he must be ‘interested’; these terms seem
 both to forbid litigation of third-party rights absolutely”). Of course, a declaration
 that Braidwood has a “right” not to comply with the preventive-care coverage rec-
 ommendations of the U.S. Preventive Services Task Force will imply that others also
 enjoy that right. But a district court cannot formally pronounce the rights of non-




 plaintiffs’ supplemental brief in support of summ ary judgment              Page 5 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22              Page 11 of 24 PageID 1927


 litigants in a declaratory judgment, even if its ruling indicates that others would qual-
 ify for similar declaratory relief if they were ever to request it from the courts. And

 any declaratory relief that a district court purports to award to non-parties or non-
 litigants cannot have “the force and effect of a final judgment or decree” within the
 meaning of 28 U.S.C. § 2201(a).
      The third implication is that district courts may declare only the rights and legal
 relations of an “interested party” to the lawsuit. 28 U.S.C. § 2201(a) (emphasis
 added). This language suggests that a plaintiff must demonstrate Article III standing
 before obtaining a declaration of its rights — even if a co-plaintiff has already estab-
 lished Article III standing for itself — because otherwise the plaintiff would not qualify
 as an “interested” party. Interpreting the statute this way does not, in our view, con-
 travene the Supreme Court’s pronouncements that allow litigants who lack standing
 to remain in a case so long as one of their co-plaintiffs has established standing,3 be-
 cause a plaintiff can remain a party to a lawsuit even it is ineligible for a declaratory
 remedy under the terms of 28 U.S.C. § 2201(a). And in all events, the one-plaintiff
 rule applies only when co-plaintiffs are seeking the same relief. See Town of Chester v.
 Laroe Estates, Inc., 137 S. Ct. 1645, 1651 (2017) (“For all relief sought, there must
 be a litigant with standing. . . . [A litigant] must demonstrate Article III standing
 when it seeks additional relief beyond that which the plaintiff requests.”); id. (“In
 sum, [a litigant] must have Article III standing in order to pursue relief that is differ-
 ent from that which is sought by a party with standing.”). Declaratory relief is neces-

 sarily litigant-specific, because 28 U.S.C. § 2201 allows an “interested party” to obtain
 a declaration of its own “rights” and “legal relations” but no one else’s. Braidwood
 can seek a judicial declaration of Braidwood’s rights (and no one else’s), while the
 non-Braidwood plaintiffs can seek a declaration of their rights but not Braidwood’s

 3.    See, e.g., Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140
       S. Ct. 2367, 2379 n.6 (2020).


 plaintiffs’ supplemental brief in support of summ ary judgment                Page 6 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22             Page 12 of 24 PageID 1928


 (or anyone else’s). Each plaintiff is therefore seeking different declaratory relief, so
 each plaintiff must independently demonstrate Article III standing before seeking or

 obtaining declaratory relief under 28 U.S.C. § 2201(a).

        B.     The Administrative Procedure Act
      The Administrative Procedure Act, unlike the Declaratory Judgment Act, author-
 izes a court to “hold unlawful and set aside” agency action that it deems unlawful or
 unconstitutional. 5 U.S.C. § 706(2). Unlike judicial review of statutes, in which courts

 enter judgments and decrees only against litigants,4 the APA goes further by empow-
 ering the judiciary to act directly on the challenged agency action. This statutory
 power to “set aside” agency action is a veto-like power that enables the judiciary to
 formally revoke an agency’s rules, orders, findings, or conclusions — in the same way
 that an appellate court formally revokes and wipes away an erroneous trial-court judg-
 ment. See Data Marketing Partnership, LP v. United States Dep’t of Labor, 45 F.4th
 846, 859 (5th Cir. 2022) (“The APA gives courts the power to ‘hold unlawful and
 set aside agency action[s].’ 5 U.S.C. § 706(2). Under prevailing precedent, § 706 ‘ex-
 tends beyond the mere non-enforcement remedies available to courts that review the
 constitutionality of legislation, as it empowers courts to “set aside”—i.e., formally
 nullify and revoke—an unlawful agency action.’” (citation omitted)); Franciscan Al-
 liance, Inc. v. Becerra, 47 F.4th 368, 374–75 (5th Cir. 2022) (“Vacatur is the only
 statutorily prescribed remedy for a successful APA challenge to a regulation.”).5 The


 4.   See Okpalobi v. Foster, 244 F.3d 405, 426 n.34 (5th Cir. 2001) (en banc) (“An
      injunction enjoins a defendant, not a statute.”).
 5.   See also Nicholas Bagley, Remedial Restraint in Administrative Law, 117
      Colum. L. Rev. 253, 258 (2017) (“The APA instructs federal courts to ‘hold
      unlawful and set aside’ arbitrary or unlawful agency action. When the APA was
      enacted in 1946, that instruction reflected a consensus that judicial review of
      agency action should be modeled on appellate review of trial court judgments .
      . . . Just as a district court judgment infected with error should be invalidated
      and returned for reconsideration, so too with agency action.”); Thomas W. Mer-
      rill, Article III, Agency Adjudication, and the Origins of the Appellate Review


 plaintiffs’ supplemental brief in support of summ ary judgment              Page 7 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22            Page 13 of 24 PageID 1929


 APA gives the judiciary a unique power that it lacks when reviewing the constitution-
 ality of statutes: Reviewing courts may formally vacate an agency rule or order, rather

 than merely declaring the rights of litigants or enjoining government officials from
 enforcing the disputed law.
     Braidwood is therefore entitled to vacatur of every “agency action” taken to im-
 plement the preventive-care coverage mandates recommended by the U.S. Preventive
 Services Task Force after March 23, 2010. See 5 U.S.C. § 706(2). This is a universal
 remedy because the agency actions themselves are vacated — i.e., “set aside” — which
 allows Braidwood to obtain relief that benefits non-parties to the lawsuit, as well as
 its co-plaintiffs who may or may not be able to prove Article III standing on their
 own accord. See Data Marketing, 45 F.4th at 859; Franciscan Alliance, 47 F.4th at
 374–75; authorities cited in note 5, supra.
     The Court’s remedy should also “set aside” actions taken by the Task Force to
 implement 42 U.S.C. § 300gg-13(g)(1), including Task Force recommendations with
 “A” or “B” ratings that were issued on or after March 23, 2010. The Task Force
 qualifies as an “agency” within the meaning of 5 U.S.C. § 551(1), as it was created by
 an Act of Congress and wields authority conferred by federal law. See 5 U.S.C.
 § 551(1) (defining “agency” as “each authority of the Government of the United
 States”); Memorandum Opinion and Order, ECF No. 92, at 21 (“PSTF members
 exercise significant authority pursuant to the laws of the United States.”); id. at 23
 (“PSTF’s recommendations . . . have the force and effect of law.”). The Task Force is

 also part of the “United States” and should be regarded as a party to this lawsuit, as

      Model of Administrative Law, 111 Colum. L. Rev. 939, 940 (2011) (explaining
      how judicial review of agency action is “built on the appellate review model of
      the relationship between reviewing courts and agencies,” which “was borrowed
      from the understandings that govern the relationship between appeals courts
      and trial courts in civil litigation”); Mila Sohoni, The Power to Vacate a Rule, 88
      Geo. Wash. L. Rev. 1121, 1126 (2020) (“[T]he APA allows universal vacatur of
      rules.”).


 plaintiffs’ supplemental brief in support of summ ary judgment              Page 8 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22              Page 14 of 24 PageID 1930


 this Court has ruled that its members are “officers of the United States” and have “a
 continuing and formalized relationship of employment with the United States Gov-

 ernment.” Id. at 20 (quoting Riley v. St. Luke’s Episcopal Hospital, 252 F.3d 749, 757
 (5th Cir. 2001) (en banc)); see also Hansberry v. Lee, 311 U.S. 32, 40 (1940) (“[O]ne
 is not bound by a judgment in personam in a litigation in which he is not designated
 as a party or to which he has not been made a party by service of process.”). So Braid-
 wood is entitled to a universal remedy under the APA that: (1) sets aside all Task Force
 recommendations with “A” or “B” ratings that were issued on or after March 23,
 2010; and (2) sets aside all other agency action taken to implement those Task Force
 recommendations.6

        C.     Injunctive Relief
      Braidwood is also entitled to an injunction that restrains the defendants from
 implementing the agency actions that this Court has vacated or set aside under 5
 U.S.C. § 706(2). Because this injunction is concomitant to the APA remedy, which



 6.   It does not matter that Braidwood did not explicitly request a remedy under 5
      U.S.C. § 706(2) in its complaint. See First Amended Complaint, ECF No. 14,
      at ¶ 112. Courts must award the relief to which a party is entitled regardless of
      whether it asked for that relief in its pleadings. See Fed. R. Civ. P. 54(c) (“A . . .
      final judgment should grant the relief to which each party is entitled, even if the
      party has not demanded that relief in its pleadings.”); Citizens United v. Federal
      Election Comm’n, 558 U.S. 310, 333 (2010) (in “the exercise of its judicial re-
      sponsibility” it may be “necessary . . . for the Court to consider the facial valid-
      ity” of a statute, even though a facial challenge was not brought); Whole Woman’s
      Health v. Hellerstedt, 579 U.S. 582, 136 S. Ct. 2292, 2307 (2016) (a request in
      the complaint to issue “such other and further relief as the Court may deem just,
      proper, and equitable” is sufficient to preserve claims that go unmentioned in
      the pleadings), overruled on other grounds in Dobbs v. Jackson Women’s Health
      Organization, 142 S. Ct. 2228 (2022); Driggers v. Business Men’s Assurance Co.
      of America, 219 F.2d 292, 299 (5th Cir. 1955) (“[T]he final judgment should
      grant the relief to which plaintiff may prove himself entitled, even if he has not
      demanded such relief in his pleadings.”); Sapp v. Renfroe, 511 F.2d 172, 176,
      n.3 (5th Cir. 1975) (allowing claim for damages raised for first time on appeal
      in light of Rule 54(c) and the catchall prayer for relief in plaintiff’s complaint).


 plaintiffs’ supplemental brief in support of summ ary judgment                 Page 9 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22               Page 15 of 24 PageID 1931


 has formally revoked the contested agency actions, there is no need for angst over the
 issuance of a “nationwide” or universal injunction that halts the continued implemen-

 tation of these now-vacated agency actions. See Franciscan Alliance, Inc. v. Burwell,
 227 F. Supp. 3d 660, 695 (N.D. Tex. 2016) (“A nationwide injunction is appropriate
 when a party brings a facial challenge to agency action under the APA.” (citing au-
 thorities)). Braidwood would not be eligible for a nationwide injunction (or any type
 of universal remedy) if it were merely challenging the constitutionality of a statute or
 ordinance. See, e.g., Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975) (“[N]either
 declaratory nor injunctive relief can directly interfere with enforcement of contested
 statutes or ordinances except with respect to the particular federal plaintiffs, and the
 State is free to prosecute others who may violate the statute.”). But litigants who
 challenge unlawful agency action are statutorily entitled to a remedy that formally
 revokes and undoes the agency rule or order, and a universal remedy that restrains the
 further implementation of the vacated agency actions is necessary to implement this
 statutory command.
      At least one commentator has criticized the widely held view that the APA’s “set
 aside” language authorizes universal remedies such as vacatur and nationwide injunc-
 tions. Compare John Harrison, Section 706 of the Administrative Procedure Act Does
 Not Call for Universal Injunctions or Other Universal Remedies, 37 Yale J. On Reg.
 Bull. 37, 41 (2020), with Mila Sohoni, The Power to Vacate a Rule, 88 Geo. Wash. L.
 Rev. 1121 (2020) (defending universal remedies under the APA and responding to

 Harrison’s criticisms). But the law of the Fifth Circuit is otherwise,7 and until the Fifth
 Circuit repudiates its views this Court cannot deny Braidwood a universal remedy on
 account of these academic criticisms.



 7.   See Data Marketing, 45 F.4th at 859; Franciscan Alliance, 47 F.4th at 374–75;
      authorities cited in note 5, supra.


 plaintiffs’ supplemental brief in support of summ ary judgment                Page 10 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22            Page 16 of 24 PageID 1932


 III.   The Standing Of The Remaining Plaintiffs
     The remaining plaintiffs do not need to independently demonstrate Article III
 standing to pursue the universal remedies sought by Braidwood. See Little Sisters, 140

 S. Ct. at 2379 n.6; Town of Chester, 137 S. Ct. at 1651. Yet the Court must nonethe-
 less resolve the standing of the remaining plaintiffs to determine whether they can
 obtain declaratory relief under 28 U.S.C. § 2201, which is available only to “inter-
 ested parties,” and to determine whether this Court should resolve their unsuccessful
 claims by entering judgment against them or by dismissing their claims for lack of
 jurisdiction.
     The non-Braidwood plaintiffs rely on the doctrine of purchaser standing, which
 allows litigants to sue whenever a statute or agency action deprives them of the
 opportunity to purchase a desired product. See Br. in Support of Pls.’ Mot. for Sum.
 J., ECF No. 45, at 10 (citing Center for Auto Safety v. National Highway Traffic Safety
 Administration, 793 F.2d 1322, 1332–34 (D.C. Cir. 1986), and Orangeburg, South
 Carolina v. FERC, 862 F.3d 1071, 1078 (D.C. Cir. 2017)); see also Weissman v. Nat’l
 R.R. Passenger Corp., 21 F.4th 854, 857–58 (D.C. Cir. 2021); Consumer Federation

 of America v. FCC, 348 F.3d 1009, 1012 (D.C. Cir. 2003) (“[T]he inability of con-
 sumers to buy a desired product may constitute injury-in-fact ‘even if they could ame-
 liorate the injury by purchasing some alternative product.’”); Competitive Enterprise
 Institute v. National Highway Traffic Safety Administration, 901 F.2d 107, 112–13
 (D.C. Cir. 1990) (conferring standing on a consumer group to challenge fuel-econ-
 omy standards that reduced the number and variety of larger vehicles available for
 sale); Community Nutrition Institute v. Block, 698 F.2d 1239, 1246–47 (D.C. Cir.
 1983) (conferring standing on consumers to challenge regulations that “deprived”
 them of “a lower priced alternative to whole milk”), rev’d on other grounds, 467 U.S.
 340 (1984).




 plaintiffs’ supplemental brief in support of summ ary judgment            Page 11 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22             Page 17 of 24 PageID 1933


      Each of the individual religious-objector plaintiffs (Kelley, Starnes, and Mr. and
 Mrs. Maxwell) has been injured by their inability to purchase health insurance that

 excludes or limits coverage of preventive care that violates their sincere religious
 beliefs.8 This injury remains regardless of whether the elimination of preventive-care
 mandates causes premiums to go up or down, because the compulsory coverage of
 objectionable preventive care inflicts injury by making the religious-objector plaintiffs
 complicit in conduct that violates their religious beliefs as a condition of purchasing
 health insurance. See Little Sisters, 140 S. Ct. at 2383; id. at 2390–91 (Alito, J.,
 concurring); March for Life v. Burwell, 128 F. Supp. 3d 116, 128–29 (D.D.C. 2015)
 (“[T]he employee plaintiffs have demonstrated that the [Contraceptive] Mandate
 substantially burdens their sincere exercise of religion . . . [because] [t]he Mandate,
 in its current form, makes it impossible for employee plaintiffs to purchase a health
 insurance plan that does not include coverage of contraceptives to which they ob-
 ject.”); Wieland v. United States Dep’t of Health & Human Services, 196 F. Supp. 3d
 1010, 1017 (E.D. Mo. 2016) (federal contraceptive mandate substantially burdens
 the religious freedom of individual consumers of health insurance because “the ulti-
 mate impact is that Plaintiffs must either maintain a health insurance plan that includes
 contraceptive coverage, in violation of their sincerely-held religious beliefs, or they


 8.    See Kelley Decl. ¶¶ 5–15 (ECF No. 46, at 33–37); id. at ¶ 20 (ECF No. 46, at
       37) (“The defendants’ enforcement of 42 U.S.C. § 300gg-13 has eliminated my
       option of obtaining the types of health-insurance policies described in paragraphs
       56 and paragraphs 17–19.”); Starnes Decl. ¶¶ 5–15 (ECF No. 46, at 39–43);
       id. at ¶ 16 (ECF No. 46, at 43) (“The defendants’ enforcement of 42 U.S.C.
       § 300gg-13 has eliminated my option of obtaining the types of health-insurance
       policies described in paragraphs 5–6.”); Zach Maxwell Decl. ¶¶ 5–15 (ECF No.
       46, at 50–54); id. at ¶ 16 (ECF No. 46, at 54) (“The defendants’ enforcement
       of 42 U.S.C. § 300gg-13 has eliminated my option of obtaining the types of
       health-insurance policies described in paragraphs 5–6.”); Ashley Maxwell ¶¶ 5–
       15 (ECF No. 46, at 56–60); id. at ¶ 16 (ECF No. 46, at 60) (“The defendants’
       enforcement of 42 U.S.C. § 300gg-13 has eliminated my option of obtaining
       the types of health-insurance policies described in paragraphs 5–6.”).


 plaintiffs’ supplemental brief in support of summ ary judgment              Page 12 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22               Page 18 of 24 PageID 1934


 can forgo healthcare altogether”). That injury exists apart from any financial
 consequences that might accompany a ruling that enjoins the continued enforcement

 of the preventive-care mandates. The defendants do not deny this point, and they do
 not deny that the inability to purchase health insurance that excludes religiously or
 morally objectionable coverage constitutes injury in fact. See Defs.’ Br. in Support of
 Mot. for Sum. J., ECF No. 64, at 20–24 (challenging only traceability and
 redressability with respect to the religious objectors).
     Instead, the defendants try to defeat the religious objectors’ standing by claiming
 that they have failed to establish traceability and redressability. In the defendants’ view,
 the plaintiffs must produce “factual evidence showing that, but for the Preventive
 Services Provision, their insurance plans would omit” some or all of the objectionable
 coverage. See Defs.’ Br. in Support of Mot. for Sum. J., ECF No. 64, at 22; see also id.
 at 20–24. But Article III does not require proof of but-for causation — or even
 proximate causation — between the defendants’ conduct and the plaintiffs’ injuries.
 See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 n.6
 (2014) (“Proximate causation is not a requirement of Article III standing, which
 requires only that the plaintiff’s injury be fairly traceable to the defendant’s
 conduct.”). It is enough for the plaintiffs to show that their alleged injuries are “likely
 attributable at least in part” to the defendants’ enforcement of the ACA’s preventive-
 care coverage mandates. See Department of Commerce v. New York, 139 S. Ct. 2551,
 2566 (2019). And the plaintiffs have done enough to satisfy this requirement by citing

 evidence from the market for “short-term, limited duration insurance” (STLDI),
 which Congress has exempted from the ACA’s preventive-care coverage mandates,
 and which has led insurers to offer plans that “exclude coverage of basic preventive
 care” and exclude coverage of contraception. See App. to Pls.’ Mot. for Sum. J., ECF
 No. 46, at 176.




 plaintiffs’ supplemental brief in support of summ ary judgment                 Page 13 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22               Page 19 of 24 PageID 1935


      The defendants are also wrong to suggest that Article III requires proof that the
 requested relief will redress the plaintiffs’ injuries. See Defs.’ Br. in Support of Mot.

 for Sum. J., ECF No. 64, at 22; id. at 23 (“Plaintiffs have provided no evidence
 showing that insurers will choose to offer plans without [objectionable] coverage if
 permitted”). The burden imposed by Article III is more modest. A plaintiff needs
 only to show that it is “likely” (as opposed to merely “speculative”) that the requested
 relief will redress his injuries. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561
 (1992) (“[I]t must be ‘likely,’ as opposed to merely ‘speculative,’ that the injury will
 be ‘redressed by a favorable decision.’ ” (citation omitted)). And the evidence from
 the market for short-term, limited duration insurance (STLDI) shows that there is
 nothing “speculative” about the plaintiffs’ claim that insurers will resume offering
 plans that exclude or limit coverage of preventive care if the ACA’s preventive-care
 coverage mandates are declared unlawful or enjoined. The plaintiffs also do not need
 to show that insurers will respond to a favorable court ruling by excluding all objec-
 tionable coverage; it is enough if it is “likely” (i.e. non-speculative) that insurers will
 limit or exclude coverage of at least one type of preventive care that the plaintiffs do
 not want or need. See Inclusive Communities Project, Inc. v. Dep’t of Treasury, 946
 F.3d 649, 655 (5th Cir. 2019) (“The relief sought needn’t completely cure the injury,
 however; it’s enough if the desired relief would lessen it.”).
      The remaining plaintiffs (Miller and Scheideman), as well as the religious-objector
 plaintiffs, are suffering a separate and distinct injury from their inability to purchase

 health insurance that excludes or limits coverage of preventive care that they do not
 want or need, as well as the option of choosing plans that charge copays or deductibles
 for preventive care in exchange for lower premiums.9 This is independent of any of



 9.    Miller Decl. ¶¶ 5–6 (ECF No. 46, at 62); Scheideman Decl. ¶¶ 6–8 (ECF No.
       46, at 45–46).


 plaintiffs’ supplemental brief in support of summ ary judgment                Page 14 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22              Page 20 of 24 PageID 1936


 the religious objections that some of the plaintiffs have to some of the preventive-care
 coverage mandates.

     The defendants deny that the plaintiffs have shown that this injury exists and insist
 that the plaintiffs must demonstrate “economic harm.” Defs.’ Br. in Support of Mot.
 for Sum. J., ECF No. 64, at 10. But the plaintiffs’ injury comes from the denial of
 choice, not from a pocketbook injury, and they have indisputably been deprived the
 opportunity to choose a health-insurance plan that limits or excludes coverage of un-
 wanted preventive care, or that requires beneficiaries to pay for their preventive care
 with copays and deductibles rather than exclusively through premiums. Again, the
 market for short-term, limited duration insurance (STLDI) shows that the choices
 available to consumers will increase in the absence of the preventive-care mandates —
 and each of the plaintiffs is currently being denied these choices. See App. to Pls.’ Mot.
 for Sum. J., ECF No. 46, at 176. Nor are the plaintiffs required to show that the
 preventive-care coverage mandates have caused their premiums to increase. See Defs.’
 Br. in Support of Mot. for Sum. J., ECF No. 64, at 12 (criticizing the plainitffs’
 declarations for failing to “show . . . that Plaintiffs’ premiums have increased”). The
 plaintiffs are relying on purchaser standing, and their injury comes from the reduction
 in available choices on the health-insurance market. That has nothing to do with
 whether the plaintiffs’ premiums have gone up or down in response to the defendants’
 conduct.
     The defendants’ objections to traceability and redressability fall flat for the same

 reasons. See Defs.’ Br. in Support of Mot. for Sum. J., ECF No. 64, at 12–20. The
 plaintiffs’ injury is a reduction of choices available to them on the health-insurance
 market, and it cannot be denied that this injury is traceable to the defendants’
 conduct. It is undisputed that before the Affordable Care Act, private insurers were
 offering policies that excluded or limited coverage of preventive care, or that charged
 copays or required deductibles for preventive care in exchange for lower premiums.


 plaintiffs’ supplemental brief in support of summ ary judgment               Page 15 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22              Page 21 of 24 PageID 1937


 See Interim Final Rules for Group Health Plans and Health Insurance Issuers Relating
 to Coverage of Preventive Services Under the Patient Protection and Affordable Care

 Act, 75 Fed. Reg. 41726, 41732–33 (July 19, 2010) (attached as App. to Pls.’ Mot.
 for Sum. J., ECF No. 46, at 85–86). The elimination of these policies in response to
 the Affordable Care Act makes the injury “fairly traceable” to the defendants and their
 enforcement of the ACA’s preventive-care mandates. It is also “likely” (i.e., non-spec-
 ulative) that at least one policy of this sort will reappear on the market if this Court
 declares the preventive-care coverage mandates unlawful or enjoins their enforcement,
 given their previous existence before the ACA and their reemergence in the market
 for short-term, limited duration insurance (STLDI). See App. to Pls.’ Mot. for Sum.
 J., ECF No. 46, at 176. The plaintiffs want more options when choosing health
 insurance for themselves, their families, and their businesses, and they will have more
 options if this Court grants the requested relief. They do not need to prove that their
 premiums have gone up in response to the ACA or that their premiums will be
 lowered in response to relief from this Court.
     Finally, the defendants argue that Kelley, Kelley Orthodontics, and Starnes lack
 Article III standing because they are currently participating in Christian bill-sharing
 rather than purchasing health insurance. See Defs.’ Br. in Support of Mot. for Sum. J.,
 ECF No. 64, at 24–26. That does not defeat their standing because each of these
 plaintiffs wants the option of purchasing conventional health insurance that excludes
 coverage of objectionable preventive care, and the defendants’ conduct is depriving

 them of that option. See Kelley Decl. at ¶¶ 5–6, ECF No. 46, at p. 33 (“I want the
 option of purchasing health insurance that excludes or limits coverage of preventive
 care that I do not want or need, as well as preventive care that violates my sincere
 religious beliefs. . . . I also want the option of purchasing health insurance that limits
 coverage of preventive care or that imposes copays or deductibles for preventive care,
 with corresponding adjustments in the monthly premiums, so that I can choose a


 plaintiffs’ supplemental brief in support of summ ary judgment               Page 16 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22            Page 22 of 24 PageID 1938


 policy that best suits my needs and the needs of my family.”); Starnes Decl. at ¶¶ 5–
 6, ECF No. 46, at p. 39 (same); see also Kelley Decl. at ¶¶ 17–19, ECF No. 46, at p.

 37. The defendants think that the plaintiffs must prove that they will re-enter the
 health-insurance market if this Court enjoins the enforcement of the preventive-care
 coverage mandates. See Defs.’ Br. in Support of Mot. for Sum. J., ECF No. 64, at 25–
 26. But the plaintiffs’ injuries will still be redressed if additional choices are made
 available on the health-insurance market, even if they ultimately decide, after
 considering the options available to them, that Christian bill-sharing (for now) better
 suits their needs. See Inclusive Communities, 946 F.3d at 655 (“The relief sought
 needn’t completely cure the injury, however; it’s enough if the desired relief would
 lessen it.”).

                                  CONCLUSION
     The Court should enter judgment for the defendants on the Contraceptive Man-
 date claims. The Court should enter a universal remedy that sets aside any past agency
 action taken to implement the preventive-care coverage mandates recommended by
 the U.S. Preventive Services Task Force on or after March 23, 2010, and that enjoins
 the defendants from taking any future action to implementing any such recommen-
 dation from the Preventive Services Task Force or any agency action that this Court
 has set aside.

                                             Respectfully submitted.

                                              /s/ Jonathan F. Mitchell
  Gene P. Hamilton                           Jonathan F. Mitchell
  Virginia Bar No. 80434                     Texas Bar No. 24075463
  Vice-President and General Counsel         Mitchell Law PLLC
  America First Legal Foundation             111 Congress Avenue, Suite 400
  300 Independence Avenue SE                 Austin, Texas 78701
  Washington, DC 20003                       (512) 686-3940 (phone)
  (202) 964-3721                             (512) 686-3941 (fax)
  gene.hamilton@aflegal.org                  jonathan@mitchell.law




 plaintiffs’ supplemental brief in support of summ ary judgment            Page 17 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22         Page 23 of 24 PageID 1939


  H. Dustin Fillmore III
  Texas Bar No. 06996010
  Charles W. Fillmore
  Texas Bar No. 00785861
  The Fillmore Law Firm, LLP
  201 Main Street, Suite 700
  Fort Worth, Texas 76102
  (817) 332-2351 (phone)
  (817) 870-1859 (fax)
  dusty@fillmorefirm.com
  chad@fillmorefirm.com

  Dated: October 24, 2022                 Counsel for Plaintiffs




 plaintiffs’ supplemental brief in support of summ ary judgment      Page 18 of 19
Case 4:20-cv-00283-O Document 98 Filed 10/24/22       Page 24 of 24 PageID 1940


                        CERTIFICATE OF SERVICE
     I certify that on October 24, 2022, I served this document through CM/ECF
 upon:

 Christopher M. Lynch
 Jordan L. Von Bokern
 Trial Attorneys
 U.S. Department of Justice
 Civil Division
 1100 L Street, NW
 Washington, DC 20005
 (202) 353-4537 (phone)
 (202) 616-8460 (fax)
 christopher.m.lynch@usdoj.gov
 jordan.l.von.bokern2@usdoj.gov

 Brian W. Stoltz
 Assistant United States Attorney
 1100 Commerce Street, Third Floor
 Dallas, Texas 75242-1699
 (214) 659-8626 (phone)
 (214) 659-8807 (fax)
 brian.stoltz@usdoj.gov

 Counsel for the Defendants
                                          /s/ Jonathan F. Mitchell
                                         Jonathan F. Mitchell
                                         Counsel for Plaintiffs




 plaintiffs’ supplemental brief in support of summ ary judgment      Page 19 of 19
